Case 1:16-cv-00563-TSE-TCB Document 134 Filed 12/15/16 Page 1 of 2 PagelD# 2119

UNITED STATES DISTRICT COURT
FOR THE EFASTERN DISTRICT OF VIRGINIA
Alexandria Division

ROSY GIRON DE REYES, et al.,
Plaintiffs,

Vv. Civ. No. 1:16cv563

WAPLES MOBILE HOME PARK
LIMITED PARTNERSHIP, et al.
Defendants.

ee ee ee ee

ORDER

 

THIS MATTER came again before the Court pursuant to the
December 9, 2016 Order by the Honorable T.S. Hllis III. (Dkt.
133.)

Upon review of the documents submitted for inspection in
camera, the Court finds as follows:

1. All documents withheld on the basis of attorney work-
product were properly withheld. The mostly duplicative email
strings clearly relate to attorney case investigation and trial
strategy and preparation and need not be disclosed.

2. All redactions withheld as irrelevant are, indeed,
irrelevant to this matter and need not be produced. Documents
11, 16, and 20 contain confidential pricing and business
information irrelevant to this case. All other documents were
redacted to remove private information of other tenants not

relevant to this case.
Case 1:16-cv-00563-TSE-TCB Document 134 Filed 12/15/16 Page 2 of 2 PagelD# 2120

ENTERED this 15th day of December, 2016.

/s]
Theresa Carroll Buchanan
ates Magistrate Judge

 

THERESA CARROLL BUCHANAN
UNITED STATES MAGISTRATE JUDGE

Alexandria, Virginia
